
The petition herein for a writ of mandamus being submitted, and upon the facts shown, it appearing that relator is entitled thereto, a peremptory writ is hereby allowed and it is ordered, adjudged and decreed that the defendants, Wellington T. Leonard, Thomas Gregory and L. E. Nyeswander, as the Industrial Commission, be and are required to immediately, on being served with this writ, deliver to the relator, Brady Wartenbe, a certain warrant drawn on the treasurer of the state of Ohio by the *686Industrial Commission of Ohio, payable to the order of Brady Wartenbe, in the sum of $2152.55.

Writ allowed.

Marshall, C. J., Jones, Matthias and Allen, JJ., concur.
Day, Kinkade and Robinson, JJ., not participating.
